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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11

YELLOW CORPORATION, et ai.,! Case No. 23-11069 (CTG)
Debtors. (Jointly Administered)

Re: Docket No. 617

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DECLARATION OF DISINTERESTEDNESS
OF CFGI, LLC PURSUANT TO THE ORDER
AUTHORIZING THE DEBTORS TO RETAIN AND COMPENSATE
PROFESSIONALS UTILIZED IN THE ORDINARY COURSE OF BUSINESS

I, John T. Gregory, declare under penalty of perjury:

1. Iam a Partner of CFGI, LLC, located at 1 Lincoln Street, Suite 1301, Boston, Massachusetts 02111
(the “Firm’’).
2. Yellow Corporation and certain of its affiliates, as debtors and debtors in possession (collectively,

the “Debtors”), have requested that the Firm provide accounting and financial reporting support services to the
Debtors, and the Firm has consented to provide such services.

3. The Firm may have performed services in the past, may currently perform services, and may
perform services in the future in matters unrelated to these chapter 11 cases for persons that are parties in interest
in the Debtors’ chapter 11 cases. The Firm does not, however, perform services for any such person relating to
these chapter 11 cases, or have any relationship with any such person, their attorneys, or their accountants that

would be adverse to the Debtors or their estates.

' A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’ proposed claims

and noticing agent at https://dm.epig!1.com/YellowCorporation. The location of Debtors’ principal place of business and the
Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400, Overland Park, Kansas 66211.

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4. As part of its customary practice, the Firm is retained in cases, proceedings, and transactions
involving many different parties, some of whom may represent or be employed by the Debtors, claimants, and
parties in interest in these chapter 11 cases.

5. Neither I nor any principal, partner, director, or officer of, or professional employed by, the Firm
has agreed to share or will share any portion of the compensation to be received from the Debtors with any other
person other than the principal and regular employees of the Firm.

6. Neither I nor any principal, partner, director, or officer of, or professional employed by, the Firm,
insofar as I have been able to ascertain, holds or represents any interest adverse to the Debtors or their estates

with respect to the matter(s) upon which the Firm is to be employed.

7. The Debtors do not owe the Firm for any prepetition services, as no prepetition services were
provided by the Firm.
8. As of the Petition Date, which was the date on which the Debtors commenced these chapter 11

cases, the Firm was not party to an agreement for indemnification with certain of the Debtors.

9. The Firm is conducting further inquiries regarding its retention by any creditors of the Debtors,
and upon conclusion of that inquiry, or at any time during the period of its employment, if the Firm should
discover any facts bearing on the matters described herein, the Firm will supplement the information contained
in this Declaration.

Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true and correct.

Date: December 4, 2023

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